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10
                        UNITED STATES DISTRICT COURT
11                     CENTRAL DISTRICT OF CALIFORNIA
12
     VAHE MESSERLIAN, individually       )         Case No. 2:18-cv-01813-PA-AGR
13
                                         )
     and on behalf of all others similarly
14   situated,                           )         NOTICE OF VOLUNTARY
                                         )         DISMISSAL OF ENTIRE ACTION
15
     Plaintiff,                          )         WITHOUT PREJUDICE
16                                       )
17
            vs.                          )
                                         )
18   IHEARTMEDIA, INC. DBA KOST )
19   103.5; DOES 1 through 10, inclusive )
                                         )
20
     Defendant.
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                                      Notice of Dismissal - 1
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           NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
 2   Civil Procedure 41(a)(1), hereby voluntarily dismisses this matter without
 3   prejudice as to the individual and class claims. Defendant has neither answered
 4   Plaintiff’s Complaint, nor filed a motion for summary judgment. Although this
 5   case was filed as a class action, no class has been certified, and court approval of
 6   this voluntary dismissal is therefore not required under Rule 23(a) of the Federal
 7   Rules of Civil Procedure. Accordingly, this matter may be dismissed without
 8   prejudice and without an Order of the Court.
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                  RESPECTFULLY SUBMITTED this 5th day of March, 2018.

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12                             By:    s/Todd M. Friedman
                                      Todd M. Friedman, Esq.
13
                                      Law Offices of Todd M. Friedman, P.C.
14                                    Attorney for Plaintiff
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                                        Notice of Dismissal - 2
